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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF FLORIDA

BEN DAVIS, individually and                 )
on behalf of all others similarly situated, )
                                            )
      Plaintiff,                            )
                                            ) CASE NO.: 8:23-CV-02333
v.                                          )
                                            )
CR FITNESS HOLDINGS, LLC,                   )
                                            )
      Defendant.                            )
                                            )


           DEFENDANT’S UNOPPOSED MOTION FOR EXTENSION
                OF TIME TO RESPOND TO COMPLAINT

      Pursuant to Federal Rule of Civil Procedure 6(b) and Local Rule 3.01,

Defendant CR Fitness Holdings, LLC (“CR Fitness”) moves for an extension until

February 5, 2024, to respond to the Complaint (ECF No. 1) and states as follows:

      1.     Plaintiff Ben Davis filed the Complaint on October 13, 2023.

      2.     CR Fitness was served October 31, 2023, making its response due,

November 21, 2023. Fed. R. Civ. P. 12(a)(1)(A)(i).

      3.     The Court extended the time for CR Fitness to respond until January 5,

2024, while the Parties investigated Mr. Davis’s allegations. ECF No. 17.

      4.     The Parties have been in communication regarding their investigations

of the claims and potential settlement. Recently, the Parties agreed to exchange

additional information to see whether those records support the allegation that CR

Fitness made the call Mr. Davis alleges he received.
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       5.     The Parties have agreed to allow CR Fitness a 30-day extension to

respond to the Complaint, making its response due February 5, 2024.

       6.     Under Federal Rule of Civil Procedure 6(b), courts may extend a

deadline for good cause. Further, district courts have “broad discretion in deciding

how best to manage the cases before them.” Chudasama v. Mazda Motor Corp., 123 F.3d

1353, 1366 (11th Cir. 1997). This broad discretion extends to “the management of pre-

trial activities, including discovery and scheduling.” Johnson v. Bd. of Regents of Univ. of

Georgia, 263 F.3d 1234, 1269 (11th Cir. 2001).

       7.     As good cause for the extension, CR Fitness states the extension is likely

to foster resolution of factual disputes as the Parties continue to investigate Mr. Davis’s

claims, and the extension could give the Parties time to resolve this action without

unnecessary expenses associated with CR Fitness responding to the Complaint.

       8.     As such, CR Fitness submits the Parties have demonstrated good cause

for the extension.

       WHEREFORE CR Fitness requests the Court (1) grant this Motion and (2)

grant CR Fitness an extension to respond to the Complaint until February 5, 2024.

                     LOCAL RULE 3.01(g) CERTIFICATION

       Counsel for CR Fitness certifies that she conferred with counsel for Mr. Davis

via telephone and email several times the week of January 1, 2024, regarding this

motion. Mr. Davis does not oppose the requested relief.




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                                  /s/ Alexis Buese
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                           CERTIFICATE OF SERVICE

      I hereby certify that on January 4, 2024, I electronically filed the foregoing with

the Clerk of the Court using CM/ECF which will send notification of such filing to

counsel of record.

                                            /s/ Alexis Buese
                                            Alexis Buese




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